      Case 3:22-cv-00211-SDD-SDJ        Document 355   02/15/24 Page 1 of 17




                      UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, et al.,

                  Plaintiffs,              Civil Action No. 3:22-cv-00211-SDD-
                                           SDJ
             v.
                                           Chief Judge Shelly D. Dick
KYLE ARDOIN, in his official capacity
as Secretary of State for Louisiana,       Magistrate Judge Scott D. Johnson

                  Defendant.

EDWARD GALMON, SR., et al.,

                  Plaintiffs,              Consolidated with
                                           Civil Action No. 3:22-cv-00214-SDD-
             v.                            SDJ

R. KYLE ARDOIN, in his official
capacity as Secretary of State for
Louisiana,

                  Defendant.

   RESPONSE TO PLAINTIFFS’ MOTION TO APPLY THE FIRST-FILED
     RULE OF DEFENDANTS THE STATE OF LOUISIANA AND THE
                    SECRETARY OF STATE
      Case 3:22-cv-00211-SDD-SDJ         Document 355      02/15/24 Page 2 of 17




                                  INTRODUCTION

      Plaintiffs’ “Motion to Apply The First-Filed Rule” is flawed on every level. That

rule is plainly inapplicable here because this action and Callais are profoundly

different cases. They notably involve (1) different Congressional maps with enormous

changes; (2) different claims—here purely statutory under § 2 of the Voting Rights

Act (“VRA”) and there purely constitutional under the Fourteenth and Fifteenth

Amendments; and (3) overwhelmingly different parties, with the only overlap in

originally named parties being the Secretary of State (“Secretary”) as a defendant (an

element true of virtually all statewide election litigation). These crucial distinctions—

differing maps, claims, and parties—preclude the first-to-file rule applying here. And

even if that rule could apply here, it is discretionary, and there is no reason to apply

it, particularly because there is no actual risk of inconsistent judgments.

      The flaws in Plaintiffs’ motion, however, are more fundamental than lack of

merit. This Court lacks jurisdiction to even to consider Plaintiffs’ request for multiple

independent reasons: (1) this Court lacks jurisdiction to consider the claims at issue

in Callais, which can only be heard by the three-judge district court already

constituted under 28 U.S.C. § 2284; (2) Plaintiffs’ motion impermissibly seeks an

advisory opinion since it requests no actual relief, such as a transfer or dismissal, and

instead asks this Court to “deem” an abstract proposition of law true in the hope that

the Court will advise the Callais court to follow suit; and (3) because this case is moot,

this Court lacks jurisdiction to take any action save dismissing this suit.

      For all of these reasons, Plaintiffs’ motion should be denied.
      Case 3:22-cv-00211-SDD-SDJ         Document 355      02/15/24 Page 3 of 17




                                     ARGUMENT

I.    THIS COURT LACKS JURISDICTION TO CONSIDER PLAINTIFFS’ REQUEST.

      Plaintiffs’ request fails at the threshold because this Court lacks jurisdiction

even to entertain it. Indeed, this Court lacks jurisdiction on three independent bases:

(1) as a single-judge district court it cannot hear the claims pressed in the Callais

case, which asserts constitutional claims requiring a three-judge district court under

28 U.S.C. § 2284—which has already been constituted; (2) Plaintiffs’ request

impermissibly seeks an advisory opinion since it does not ask this Court to take any

actual action (e.g., transfer or dismiss Callais), and instead merely asks this Court to

declare a legal proposition correct in the abstract; and (3) because this case is patently

moot, this Court lacks jurisdiction to do anything except dismiss this case.

      A.     This Court Lacks Jurisdiction to Hear the Callais Claims.

      Plaintiffs made a strategic choice not to assert constitutional claims in this

case and thereby avoid the requirement that a three-judge district court be

constituted under § 2284. That choice has consequences: as a result, this Court lacks

jurisdiction to hear the Callais case since the plaintiffs there do assert claims

requiring a three-judge court under § 2284. Sitting as a single-judge court in this

matter, this Court thus lacks jurisdiction to consider the claims in Callais. See

generally 28 U.S.C. § 2284.

      Plaintiffs’ request notably does not even acknowledge that Callais is pending

before a three-judge district court. They are right not to request transfer because

there is no way to explain how this Court could accept a transfer of Callais as a single-




                                            3
      Case 3:22-cv-00211-SDD-SDJ         Document 355      02/15/24 Page 4 of 17




judge court. Plaintiffs’ failure to wrestle with this obvious jurisdictional deficiency is

alone grounds to deny their request.

      In any event, a transfer of the Callais case to this Court would directly violate

§ 2284 and is thus impermissible. The Callais case was initially assigned to Judge

David C. Joseph, and the request to convene a three-judge panel was made to him.

See Complaint, Callais v. Landry, No. 3:24-cv-00122-DCJ-CED-RRS, (Jan. 31, 2024

W.D. La.), ECF No. 1. Judge Joseph then made the requisite request under

§ 2284(b)(1), which Fifth Circuit Chief Judge Richman granted by designating the

remaining two judges of the three-judge court: Circuit Judge Carl E. Stewart and

District Judge Robert R. Summerhays. See Order Constituting Three-Judge Court,

Callais, No. 3:24-cv-00122-DCJ-CED-RRS (Feb. 2, 2024 W.D. La.), ECF No. 5.

      Under § 2284(b)(1), these three judges “shall serve as members of the court to

hear and determine the action or proceeding.” (emphasis added). The statutory

language is mandatory. See, e.g., Lexecon v. Milberg Weiss Bershad Hynes & Lerach,

523 U.S. 26, 35 (1998) (“[T]he mandatory [term] ‘shall’ . . . normally creates an

obligation impervious to judicial discretion.”); Federal Exp. Corp. v. Holowecki, 552

U.S. 389, 400 (2008) (“[T]he term ‘“shall’” indicates an intent to ‘impose [a]

discretionless obligation[].” (citation omitted)). Thus, under the plain language of

§ 2284, Judges Stewart, Joseph, and Summerhays—and only those three judges—

have authority to “hear and determine the action,” § 2284(b)(1) (subject to the

Supreme Court’s mandatory appellate jurisdiction, see 28 U.S.C. § 1253).

      Plaintiffs’ attempt to invoke the first-to-file rule—with the eventual goal of




                                            4
       Case 3:22-cv-00211-SDD-SDJ         Document 355      02/15/24 Page 5 of 17




transferring the Callais case to this Court/different judge(s)—thus squarely violates

§ 2284, since it would result in this Court, and not the judges properly designed under

§ 2284(b), “hear[ing] and determin[ing] the action.” § 2284(b)(1). Nor does § 2284

provide any method of reconstituting a three-judge court after a transfer—or even

contemplate the possibility of transfer at all. See generally § 2284. Plaintiffs’ request

thus cannot be reconciled with § 2284 and must be denied as violating that provision.

       For similar reasons, the first-to-file rule cannot be applied here. As the Fifth

Circuit has explained, “the ‘first to file rule’ must yield, if [a statute] establishes that

[another] district court is exclusively the appropriate court to decide” the case. Sutter

Corp. v. P & P Indus., Inc., 125 F.3d 914, 917 (5th Cir. 1997). That is just so here:

§ 2284 establishes exclusive jurisdiction for the three judges selected under its

auspices, which the free-ranging principles of comity underlying the first-to-file rule

cannot trump. Id.

       More generally, the first-to-file rule is a “by-product of the well-established

axiom that . . . ‘comity requires federal district courts—courts of coordinate

jurisdiction and equal rank—to exercise care to avoid interference with each other’s

affairs.’” Id. (quoting West Gulf Mar. Ass’n v. ILA Deep Sea Loc. 24, 751 F.2d 721, 728

(5th Cir. 1985)). But here this Court and the Callais court are not of “coordinate

jurisdiction and equal rank,” id.—only the latter has subject matter jurisdiction to

consider the constitutional claims raised in Callais. Nor do they occupy “equal ranks”:

appeals from single judge courts go to the circuit courts, while decisions of three-judge

courts are uniquely subject to mandatory direct appellate review by the Supreme




                                             5
       Case 3:22-cv-00211-SDD-SDJ               Document 355        02/15/24 Page 6 of 17




Court under U.S.C. § 1253. By creating unique procedures for three-judge courts

under § 2284, Congress has eliminated the foundational premise for applying the

first-to-file doctrine here.

        Finally, it is worth noting that these obstacles are both obvious and entirely

unaddressed by Plaintiffs. Their complete refusal to address either § 2284 or the

requirement that the Callais claims be heard by a three-judge district court raises

questions about the seriousness of their request.

        B.      Plaintiffs’ Request Improperly Seeks an Advisory Opinion.

        This Court lacks jurisdiction to consider Plaintiffs’ request “to deem [this case]

‘first filed’” (Mot. at 1) for another reason: Plaintiffs’ motion impermissibly seeks an

advisory opinion.

        Notably, Plaintiffs do not ask this Court to take any actual action. They do not,

for example, ask this Court to transfer or dismiss the Callais case. Nor could this

Court do so.1 They do not seek to enjoin the Callais plaintiffs from pursuing their

action before the three-judge district court. Nor could this Court do that either: the

Callais plaintiffs are not parties here. And so, this Court lacks personal jurisdiction

over them and cannot enjoin them to take or refrain from any action.

        In place of asking this Court to do anything, Plaintiffs instead ask this Court

to declare true an abstract legal proposition, asking this Court to “apply the first-filed

rule and deem the above-captioned case ‘first-filed’ as it relates to Callais v. Landry.”

See Mot. at 1 (Doc. 345) (emphasis added). But “deem[ing]” this case to be the first-


1 See, e.g., Brittingham v. Commn’r, 451 F.2d 315, 318 (5th Cir. 1971) (“Comity dictates that courts of
coordinate jurisdiction not review, enjoin[,] or otherwise interfere with one another’s jurisdiction.”).


                                                   6
       Case 3:22-cv-00211-SDD-SDJ         Document 355      02/15/24 Page 7 of 17




filed accomplishes precisely nothing on its own, and grants no relief of any sort. Any

such “deeming” would constitute an impermissible advisory opinion beyond this

Court’s jurisdiction since this Court lacks authority to grant any actual relief based

on any such “deem[ing].” See, e.g., Alberta Energy Partners v. Blast Energy Servs., Inc

(In re Blast Energy Servs., Inc.), 593 F.3d 418, 423 (5th Cir. 2010) (explaining that,

where a “court is unable to grant any remedy for [a party], its opinion would be merely

advisory and it must dismiss” the case).

       “Federal courts do not possess a roving commission to publicly opine on every

legal question [and so] do not issue advisory opinions.” TransUnion LLC v. Ramirez,

141 S. Ct. 2190, 2203 (2021). But that is all Plaintiffs’ motion seeks: asking this Court

merely “to publicly opine” on a legal question that has no actual legal effect. Indeed,

the obvious intent of the motion—seeking a declaration that the first-filed rule

applies in the hope that it will thereby persuade the three-judge Callais court to do

the same—underscores the advisory nature of the opinion sought. This Court lacks

authority under Article III to issue such advisory opinions on abstract propositions of

law. See, e.g., Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 101 (1998) (issuance

of “advisory opinion[s]” has been “disapproved by this Court from the beginning” of

its jurisprudence).

       The advisory nature of the opinion that Plaintiffs seek is further underscored

by its lack of any binding effect that opinion would have on the Callais case. Indeed,

it would violate the Due Process Clause for any “deem[ing]” by this Court to preclude

the Callais plaintiffs from litigating the first-to-file issues in their case since they are




                                             7
      Case 3:22-cv-00211-SDD-SDJ         Document 355     02/15/24 Page 8 of 17




not parties here. See, e.g., Parklane Hosiery Co. v. Shore, 439 U.S. 322, 327 n.7 (1979)

(“It is a violation of due process for a judgment to be binding on a litigant who was

not a party or a privy and therefore has never had an opportunity to be heard.”).

      Moreover, the three-judge Callais court would not be under any obligation to

abide by a first-to-file opinion issued by this Court. Section 2284 effectively

commands that court to disregard any “deem[ing]” or “apply[ing]” by this Court since

that statutory provision directs that they—and not this single-judge court—“hear and

determine th[at] action.” § 2284(b)(1). In short, Plaintiffs’ motion does not merely seek

a garden-variety advisory opinion but rather one whose advice is likely to be

rejected—and ought to be under § 2284. Because Plaintiffs’ motion patently seeks an

“advisory opinion[] on [an] abstract proposition[] of law”—to which no relief or binding

effect can attach—this Court lacks jurisdiction to grant Plaintiffs’ request. Laidlaw,

528 U.S. at 213.

      C.     Because This Case Is Moot, this Court Lacks Jurisdiction to
             Entertain Plaintiffs’ Request.

      Plaintiffs’ request suffers from a third insurmountable jurisdictional obstacle:

this case is now moot, so the Court lacks authority to grant Plaintiffs’ request. As

explained in the State’s motion to dismiss (Doc. 352), this case is now moot because

(1) Plaintiffs have obtained all the relief that they sought—by their own admissions,

and (2) the challenged maps have been completely superseded by S.B. 8, thereby

mooting the challenge to the original maps. Indeed, Plaintiffs have declined to amend

their complaint precisely because they take no issue with the current maps and in

fact seek to defend them.



                                           8
        Case 3:22-cv-00211-SDD-SDJ               Document 355         02/15/24 Page 9 of 17




        This mootness necessarily deprives the Court of jurisdiction. See, e.g., Already,

LLC v. Nike, Inc., 568 U.S. 85, 91 (2013). As a result of this mootness-induced lack of

Article III jurisdiction, the Court lacks authority to take any action save dismissing

the case: “Without jurisdiction the court cannot proceed at all in any cause.

Jurisdiction is power to declare the law, and when it ceases to exist, the only function

remaining to the court is that of announcing the fact and dismissing the cause.” Steel

Co., 523 U.S. at 94 (citation omitted) (emphasis added). Rather than opining about

the status of a different case in the abstract, this Court’s “only function remaining” is

to dismiss this case. Id.

II.     PLAINTIFFS’ FIRST-TO-FILE REQUEST LACKS MERIT.

        A.      The First-To-File Rule Does Not Apply Because this Case and
                Callais Are Not Substantially Similar.

        The first-to-file rule only applies where there is “substantial overlap” overlap

between the two cases. International Fid. Ins. Co. v. Sweet Little Mex. Corp., 665 F.3d

671, 678 (5th Cir. 2011) (holding that “some risk of ‘duplication’ between proceedings”

is insufficient to apply the first-to-file rule); Cadle Co. v. Whataburger of Alice, Inc.,

174 F.3d 599, 603 (5th Cir. 1999) (explaining first-to-file rule applies only where “the

cases substantially overlap”).2 Here the requisite “substantial overlap” is lacking for

three reasons.



2 Accord Hunt, Gather LLC v. Andreasik, No. 1:23-cv-627, 2023 U.S. Dist. LEXIS 111206, *9–10 (W.D.
Tex. June 28, 2023) (holding that two cases did not “substantially overlap” when the “factual overlap
of the case is partial, but not substantial.”); Dexon Comput., Inc. v. Cisco Sys., Inc., No. 5:22-cv-000530,
2023 U.S. Dist. LEXIS 56773, *31 (E.D. Tex. Mar. 31, 2023) (determining that the first-to-file rule did
not apply because the two cases did not “substantially overlap” despite the defendants’ appeals to
judicial economy, consistency, and comity); Louisiana v. Biden, 538 F. Supp. 3d 649, 654 (W.D. La.
2021).


                                                     9
      Case 3:22-cv-00211-SDD-SDJ        Document 355     02/15/24 Page 10 of 17




      First, this case and the Callais case involve entirely different district maps.

The maps adopted by the Louisiana Legislature last month have never been

considered by this Court. And for good reason: they did not yet exist. Because this

Court has not evaluated the contours of the maps enacted by S.B. 8 whatsoever,

Plaintiffs must rely on high-level, abstract similarities: such as the illustrative maps

offered here and S.B. 8 both ask whether the State must “draw a congressional plan

with two Black-opportunity districts?” See Br. (Doc. 345) at 4.

      That falls far short of the required “substantial overlap.” “The issues need not

be identical, but they must ‘be materially on all fours’ and ‘have such an identity that

a determination in one action leaves little or nothing to be determined in the

other.’” Baatz v. Columbia Gas Transmission, LLC, 814 F.3d 785, 791 (6th Cir. 2016)

(citation omitted)). This court never entered a final order requiring two majority-

minority districts. No trial was held, and the 2022 map has been replaced by new

legislation. This case hardly blesses the notion that all maps with two such districts

will always be lawful. Indeed, maps with two such districts have been struck down in

the past, and more than once even when Section 5 was in force and effect in Louisiana,

as the State has previously noted before this Court. See Hays v. Louisiana (Hays I),

839 F. Supp. 1188 (W.D. La. 1993), vacated as moot, 512 U.S. 1230 (1994) (mem);

Hays v. Louisiana (Hays IV), 936 F. Supp. 360 (W.D. La. 1996) (not appealed).

      And so, it is hardly the case that “a determination in [this] action leaves little

or nothing to be determined in the other [Callais action].’” Baatz, 814 F.3d at 791.

The validity of S.B. 8 will be decided on basis of its actual contours and not the shapes




                                           10
      Case 3:22-cv-00211-SDD-SDJ        Document 355      02/15/24 Page 11 of 17




of any hypothesized maps presented by plaintiffs (including the ones previously

analyzed by this Court) that were not actually enacted into law by the legislature or

adopted by the Court through an injunction.

      Similarly, because the Callais case involves an actual enacted map, rather

than the illustrative two majority-minority-district maps considered by this Court, it

is not the case that “’much of the proof adduced would likely be identical’”—which

militates against the first-to-file rule. Sweet Little Mex. Corp., 665 F.3d at 678

(citation and alteration omitted) (affirming refusal to apply first-to-file rule where the

“‘proof adduced’ would not be identical”).

      Second, the claims at issue in this case and Callais are fundamentally

different. Plaintiffs’ principal claim here was that the prior maps violated § 2 of the

VRA under the results test, which does not require proof of discriminatory intent. See,

e.g., Chisom v. Roemer, 501 U.S. 380, 394, 403 (1991) (after 1982 amendments, “proof

of intent is no longer required to prove a § 2 violation” and the amendments “relieve

plaintiffs of the burden of proving discriminatory intent”).

      In contrast, the Callais plaintiffs do not assert any claims under the VRA,

instead claiming that S.B. 8 violates the Fourteenth and Fifteenth Amendment based

on discriminatory intent. See, e.g., Complaint, Callais v. Landry, No. 3:24-cv-00122-

DCJ-CED-RRS, ¶ 118 (Jan. 31, 2024 W.D. La.) (arguing that “legislators . . . intended

to abridge the votes of non-African American voters and that they were motivated by

race when they configured the districts”). These different claims further weigh

against applying the first-to-file rule even though the cases have some overlap.




                                             11
      Case 3:22-cv-00211-SDD-SDJ         Document 355      02/15/24 Page 12 of 17




Indeed, the Fifth Circuit has held that the first-to-file rule did not apply where one

case involved a common law indemnification claim and the other involved whether

customs duties were properly assessed—even though first claim asserted the “right

to indemnification for duties paid [by the opposing party].” Sweet Little Mex. Corp.,

665 F.3d at 678. Despite an obvious relationship between the claims asserted in those

two cases, the differing natures of the claims actually asserted precluded the first-to-

file rule. Id. The same result should obtain here.

       A central issue in the Callais case is the intent of the Louisiana legislators in

adopting S.B. 8. That issue has no meaningful overlap with this case, let alone

substantial overlap. This Court did not consider the intent of the Louisiana

Legislature in 2022, 2023, or 2024 at all—both (1) doctrinally, since claims under the

results test of VRA § 2 do not require proof of discriminatory intent, and

(2) practically, since S.B. 8 did not yet exist. These differences in the “‘core issues’” of

legislative intent preclude the first-to-file rule here. See Sweet Little Mex. Corp., 665

F.3d at 678.

       Given the fundamental differences in the claims presented in the two cases, it

also is manifestly not the case that “a determination in [this] action [would] leave[]

little or nothing to be determined in [Callais].’” Baatz, 814 F.3d at 791. In analyzing

whether the districts in Plaintiffs’ illustrative maps could be drawn without unlawful

race-based intent, this Court hardly resolved whether other, future maps were in fact

drawn without such unlawful intent.




                                            12
         Case 3:22-cv-00211-SDD-SDJ             Document 355       02/15/24 Page 13 of 17




         Third, there are fundamental differences in the parties in the two cases that

prevent the requisite “substantial overlap” from existing. Although “[c]omplete

identity of parties is not required,”3 the doctrine typically demands that, “[i]n order

for suits filed in different districts to be duplicative, they must involve ‘nearly

identical parties and issues.’” Baatz, 814 F.3d at 789 (citation omitted); I.A. Durbin,

Inc. v. Jefferson Nat’l Bank, 793 F.2d 1541, 1552 (11th Cir. 1986) (declining to apply

first-to-file rule where “the parties [we]re substantially different in the two

proceedings”); Travelpass Grp. LLC v. Caesars Ent. Corp., No. 5:18-cv-00153, 2019

U.S. Dist. LEXIS 147213, *17 (refusing to apply the first-to-file rule when two cases

with “similar allegations” involved “different claimants, claims, allegations, defenses,

defendants, witnesses and damages”).

         Here there are substantial differences in the parties: not a single Callais

plaintiff is a party here, and none of the Plaintiffs here was named in the Callais suit

(though they are now trying to intervene). The only common party is the Secretary of

State4—but that is true of nearly every election case in Louisiana involving state

election laws. If the presence of the Secretary alone is a sufficient commonality to

trigger the first-to-file rule, then whichever federal district judge in the State heard

the very first election law case likely should have heard all or nearly all subsequent

election cases. That plainly is neither the law nor the actual practice.5


3   Save Power v. Syntek Fin. Corp, 121 F.3d 947, 951 (5th Cir. 1997),
4 The Attorney General intends to intervene in Callais as the State to defend S.B. 8 against the
constitutional challenges.
5  Plaintiffs here have filed a motion to intervene in the Callais action. But their desire to act as
interlopers does not alter the reality that they were neither named as original parties in Callais nor
are in any way essential to its resolution.


                                                   13
      Case 3:22-cv-00211-SDD-SDJ         Document 355     02/15/24 Page 14 of 17




                              *      *      *      *      *

      The fundamental differences in the maps, claims, and parties between this

case and the Callais case preclude the first-to-file rule here.

      B.     Relief Is Unwarranted under the First-To-File Rule.

      Even if the first-to-file rule could apply here, that hardly means it should. “The

first-to-file rule is a discretionary doctrine”—not a mandate that it be invoked

wherever it might apply. Cadle Co., 174 F.3d at 603. Where—as here—“‘the overlap

between two suits is less than complete, the judgment is made case by case, based on

such factors as the extent of overlap, the likelihood of conflict, the comparative

advantage and the interest of each forum in resolving the dispute.’” Save Power v.

Syntek Fin. Corp., 121 F.3d 947, 950-51 (5th Cir. 1997) (citation omitted) (quoting

TPM Holdings, Inc. v. Intra-Gold Indus., Inc., 91 F.3d 1, 4 (1st Cir. 1996)). Here those

factors weigh against invoking the first-to-file rule here, even if it applied at all and

this Court had jurisdiction to apply it. But see supra §§ I, II.A.

      Overlap of Suits. As explained above, there are substantial differences in the

maps, claims, and parties that preclude the first-to-file rule potentially applying at

all. But even if these differences did not preclude Plaintiffs from satisfying the

threshold “substantial overlap” requirement, the substantial differences weigh

against granting discretionary relief under that rule here.

      Likelihood of Conflict. There is no genuine risk of conflicting judgments

here. This Court never issued final judgment in this case, and the only injunction it

issued was vacated by the Fifth Circuit. And because the patent mootness of this

action now demands dismissal, see Doc. 352; supra at 8-9, this Court will never issue


                                           14
      Case 3:22-cv-00211-SDD-SDJ        Document 355     02/15/24 Page 15 of 17




any judgment with which the Callais court could conflict. As to the interlocutory

rulings this Court issued, which will now be dissolved based on mootness, any conflict

is shallow at best. This Court never considered the actual maps of S.B. 8, and all of

Plaintiffs’ hypothesized conflicts address the merely illustrative maps they offered

here. Even at the extremely high level of generality where Plaintiffs’ arguments

operate—i.e., two majority-minority districts in the abstract untethered from S.B. 8

as an actual map)—conflict is unavoidable: even assuming that this Court’s

interlocutory rulings blessed any and all possible maps with two majority-minority

districts against any and all possible claims, the Western District has twice struck

down such maps in Hays I and IV. Supra at 10.

       Comparative Advantage and Interest of Each Forum. The Callais court

has a clear advantage in hearing the Callais claims: it is a properly constituted three-

judge court with jurisdiction to hear those claims. Supra § I.C. This Court is not.

       As to the interest of the forums, each has equivalent interests here: the

challenged district at the heart of both cases spans the Western and Middle Districts,

and both have interests in the proper congressional maps for Louisiana.

       For all of these reasons, this Court should exercise its discretion not to apply

the first-to-file rule, assuming the threshold “substantial overlap” requirement is

satisfied at all.

                                   CONCLUSION

       Plaintiffs’ “Motion to Apply the First-Filed Rule” should be denied.




                                          15
     Case 3:22-cv-00211-SDD-SDJ       Document 355   02/15/24 Page 16 of 17




Dated: February 15, 2024                  Respectfully Submitted,

/s/ Phillip J. Strach                     /s/ Elizabeth B. Murrill
Phillip J. Strach*                        Elizabeth B. Murrill (LSBA No. 20685)
Lead Counsel                                Louisiana Attorney General
Thomas A. Farr*                           Morgan Brungard (LSBA No. 40298)
John E. Branch, III*                      Carey Tom Jones (LSBA No. 07474)
Alyssa M. Riggins*                        Amanda M. LaGroue (LSBA No. 35509)
Cassie A. Holt*
NELSON MULLINS RILEY &                    Office of the Attorney General
SCARBOROUGH LLP                           Louisiana Department of Justice
301 Hillsborough Street, Suite 1400       1885 N. Third St.
Raleigh, North Carolina 27603             Baton Rouge, LA 70804
Ph: (919) 329-3800                        (225) 326-6000 phone
phil.strach@nelsonmullins.com             (225) 326-6098 fax
tom.farr@nelsonmullins.com                murrille@ag.louisiana.gov
john.branch@nelsonmullins.com             jonescar@ag.louisiana.gov
alyssa.riggins@nelsonmullins.com          brungardm@ag.louisiana.gov
cassie.holt@nelsonmullins.com             LaGroueA@ag.louisiana.gov

/s/ John C. Walsh                         Jason B. Torchinsky (DC 976033)*
John C. Walsh, (LSBA No. 24903)           Phillip M. Gordon (DC 1531277)*
John C. Conine, Jr., (LSBA No. 36834)     Brennan A.R. Bowen (AZ 036639)*
SHOWS, CALL & WALSH, L.L.P.               Holtzman Vogel Baran
628 St. Louis St. (70802)                 Torchinsky & Josefiak, PLLC
P.O. Box 4425                             15405 John Marshall Highway
Baton Rouge, LA 70821                     Haymarket, VA 20169
Ph: (225) 346-1461                        (540) 341-8808 phone
Fax: (225) 346-1467                       (540) 341-8809 fax
john@scwllp.com                           jtorchinsky@holtzmanvogel.com
coninej@scwllp.com                        pgordon@holtzmanvogel.com
                                          bbowen@holtzmanvogel.com

Counsel for Defendant NANCY LANDRY, Counsel for Defendant State of Louisiana
in her official capacity as Secretary of
State of Louisiana



* Admitted pro hac vice
      Case 3:22-cv-00211-SDD-SDJ       Document 355     02/15/24 Page 17 of 17




                            CERTIFICATE OF SERVICE

       I hereby certify that, on this 15th day of February 2024, the foregoing has been

filed with the Clerk via the CM/ECF system that has sent a Notice of Electronic filing

to all counsel of record.


                                        /s/ Carey T. Jones
                                        CAREY T. JONES




                                          17
